          Case 2:15-cv-01640-KOB Document 9 Filed 09/25/15 Page 1 of 1
                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


KATHY ELLZEY,                                     )
                                                  )
v.                                                )   3:15-cv-0832
                                                  )   Chief Judge Kevin H. Sharp
COMMUNITY HEALTH SYSTEMS, INC.,                   )
et al.                                            )


                                            ORDER

       Pursuant to the Conditional Transfer Order (CTO-4) of the Judicial Panel on Multidistrict

Litigation, MDL No. 2595, this case is hereby transferred to the United States District Court for the

Northern District of Alabama for coordinated or consolidated pretrial proceedings.

       The Clerk of Court is directed to close the case and electronically transmit the record to the

United States District Court for the Northern District of Alabama.

       IT IS SO ORDERED.



                                              _______________________________________
                                              KEVIN H. SHARP
                                              CHIEF UNITED STATES DISTRICT JUDGE
